                                 Case 2:20-cv-11357-VAP-PVC Document 41 Filed 11/29/21 Page 1 of 1 Page ID #:279




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                                  3                               UNITED STATES DISTRICT COURT
                                  4                              CENTRAL DISTRICT OF CALIFORNIA

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                                  7      Paola Scherer,
                                  8                       Plaintiff,              Case No. 2:20-cv-11357-VAP-PVCx
                                  9                       v.
                                                                                              JUDGMENT
                                 10      Socorros Restaurant, Inc.,
Central District of California
United States District Court




                                 11                       Defendants.
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                                 14         TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
                                 15         Pursuant to the Order awarding Summary Judgment in favor of
                                 16   Defendant Socorros Restaurant, Inc., IT IS ORDERED AND ADJUDGED
                                 17   that the action, Paola Scherer v. Socorros Restaurant, Inc., 2:20-cv-11357-
                                 18   VAP-PVCx, is DISMISSED WITH PREJUDICE. The Court orders that such
                                 19   judgment be entered.
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                                      IT IS SO ORDERED.
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                                 23      Dated:     11/29/21
                                                                                         Virginia A. Phillips
                                 24                                                 United States District Judge
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